                    UNITED STATES DISTRICT COURT
                                           for the
                              Western District of North Carolina
                                     Charlotte Division

 United States                   )
                                 )
 v.                              ) Case No. 5:11CR00073
                                 )
 Kenneth Chad Call               )
 Defendant                       )

  MOTION TO CONTINUE FINAL HEARING REGARDING REVOCATION OF
                     SUPERVISED RELEASE

    NOW COMES Defendant’s counsel and hereby moves this Court to continue the Final
Hearing Regarding Revocation of Supervised Release in this matter scheduled for December
13, 2023.

    Defendant’s counsel has a 2021 case in Mecklenburg County Superior Court that is #1 in
the trial order beginning December 11, 2023.

    Defendant’s counsel has consulted with counsel for the Government and has been advised
that the Government does not object to this request.

    The parties have discussed a resolution and a contested hearing in this matter is not
anticipated.

   Therefore, Defendant’s counsel requests that the Court continue the hearing referenced
above to a new date after December 22, 2023.

      This the 11th day of December 2023.




                                             s/ Charles Anderson, Jr.

                                             Charles Anderson, Jr. Bar Number: 40481
                                             Attorney for Defendant
                                             The Law Office of Charles Anderson, Jr., PLLC
                                             601 East 5th Street, Suite 100
                                             Charlotte, North Carolina 28202
                                             Telephone: (704) 926-7551
                                             Fax: (704) 332-1566
                                             E-mail: charles@charlesandersonlaw.com




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                              CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of this Motion to Continue Final Hearing
Regarding Revocation of Supervised Release has been electronically filed with the Clerk of
Court using the CM/ECF system and was served electronically on those entities that have
properly registered for electronic service. Entities not registered for electronic service have
been served via first-class mail, postage paid and properly addressed, as follows:

Cassye Cole, Esq.
227 W Trade St #1650
Charlotte, NC 28202
E-mail: Cassye.cole@usdoj.gov

This the 11th day of December, 2023.



                                             s/ Charles Anderson, Jr.

                                             Charles Anderson, Jr. Bar Number: 40481
                                             Attorney for Defendant
                                             The Law Office of Charles Anderson, Jr., PLLC
                                             601 East 5th Street, Suite 100
                                             Charlotte, North Carolina 28202
                                             Telephone: (704) 926-7551
                                             Fax: (704) 332-1566
                                             E-mail: charles@charlesandersonlaw.com




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